Case: 23-1802   Document: 00118116535    Page: 1   Date Filed: 03/05/2024   Entry ID: 6627043
                                        No. 23-1802

                                          IN THE
                       United States Court of Appeals
                            for the First Circuit
        UNITED STATES; STATE OF ARIZONA; STATE OF CALIFORNIA; DISTRICT OF
         COLUMBIA; STATE OF FLORIDA; COMMONWEALTH OF MASSACHUSETTS;
          COMMONWEALTH OF PENNSYLVANIA; COMMONWEALTH OF VIRGINIA,
                                           Plaintiffs-Appellees,
                                       v.
                         AMERICAN AIRLINES GROUP INC.,
                                           Defendant-Appellant,
                         JETBLUE AIRWAYS CORPORATION,
                                           Defendant.

         On Appeal from the United States District Court for the District of
             Massachusetts, No. 1:21-cv-11558 (Hon. Leo T. Sorokin)

                     BRIEF FOR PLAINTIFFS-APPELLEES


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           REASONS WHY ORAL ARGUMENT SHOULD BE HEARD

            Oral argument would be helpful to the Court in this appeal. After

       a lengthy trial, the district court found that the Northeast Alliance

       (NEA) harmed competition and consumers in the Northeast United

       States, violating Section 1 of the Sherman Act. Oral argument would

       assist this Court in understanding why the record—and the district

       court’s extensive factual findings—compelled this result.




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                                  INTRODUCTION

            Competition in air travel matters. Rivalry between competing

       airlines drives them to lower prices, improve quality, and schedule

       flights to best serve customer demand. The Sherman Act protects this

       competition: it “rests on the premise that the unrestrained interaction

       of competitive forces will yield the best allocation of our economic

       resources, the lowest prices, [and] the highest quality.” N. Pac. Ry. Co.

       v. United States, 356 U.S. 1, 4 (1958).

            Competition between American Airlines (AA) and JetBlue matters

       to the millions of passengers who rely on flights out of Boston and New

       York to visit loved ones, do business, and vacation on a budget. The two

       airlines fiercely compete for the business of 32 million passengers

       annually who fly nonstop routes where the two are head-to-head rivals.

       On 23 of those routes, the two airlines’ combined market share is

       between 30 and 96 percent.

            The Northeast Alliance (NEA) ended that fierce competition. AA

       and JetBlue “no longer operate[d] in the northeast as two distinct

       carriers” and “work[ed] together as one combined carrier” from January

       2021 until the NEA was enjoined in July 2023. ADD77. Indeed,



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       JetBlue’s CEO frankly admitted that “American and JetBlue no longer

       ‘compete[d] with each other directly’ within the NEA region.” Id.

       (quoting 1-JA119).

            By entering into the NEA, the airlines eliminated critical

       competitive forces benefiting the public. Instead of “tactically

       respond[ing] to each other’s fares,” ADD39-40, they shared revenue on

       flights out of Boston and New York. And instead of competing on

       schedules to meet consumer demand, they allocated routes on which

       they had previously competed.

            This was a remarkable arrangement. Although other airlines have

       entered into frequent flyer and ticket reciprocity agreements, never

       before had rival domestic airlines agreed to eliminate competition by

       sharing revenues from each other’s competing ticket sales and jointly

       allocating which routes and schedules they would fly.

            Even though these practices are per se unlawful on their own, AA

       and JetBlue denied that the NEA harmed competition. They claimed

       that they would remain competitors and that the NEA would yield

       significant procompetitive benefits. The district court gave them every




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       opportunity to prove those claims. But after a month-long trial, the

       court found that the evidence undercut their story at every turn.

            The court’s factual findings decide this appeal. The court found

       that the NEA eliminated competition between AA and JetBlue that had

       lowered prices and increased choice. The court found that the NEA

       turned rivals into partners, including on nearly two-dozen routes where

       the parties’ combined shares establish market power, and that it

       reduced output on several key routes. And the court found that the NEA

       weakened JetBlue’s incentives to act as a disruptive competitor and,

       based on economic modeling, would likely raise prices. These harms to

       competition were “significant.” ADD88 n.91.

            By contrast, the court found that AA and JetBlue’s claims of

       procompetitive benefits failed. The evidence did not support the

       companies’ arguments that the NEA made the airlines more effective

       competitors or more attractive to corporate customers or that the NEA

       increased fleet size, added new routes, or created other significant

       benefits. While the NEA made Defendants larger and more powerful,

       merely accumulating market power is anticompetitive, not

       procompetitive.


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            Finally, the court found that a more narrowly tailored alternative

       (which Defendants considered) could achieve the benefits they sought,

       and that any benefits were “overwhelmingly” outweighed by the NEA’s

       anticompetitive effects. ADD101.

            Those factual findings establish a textbook rule-of-reason

       violation. On appeal, AA does not claim clear error in any of them.

       Instead, it ignores them, inviting this Court to adopt novel legal

       standards that contradict settled precedent and the Sherman Act itself.

       AA would elevate form over substance by creating a new, deferential

       standard for all joint ventures that disregards quintessential

       anticompetitive harms—a proposal similar to one the Supreme Court

       recently rejected in NCAA v. Alston, 594 U.S. 69 (2021). AA would also

       require the flexible rule of reason to ignore valuable evidence of

       anticompetitive harm by looking only to quantified price and output

       effects, again contrary to decades of precedent. The Court should

       decline AA’s invitations to ignore the facts and rewrite the law.

                         JURISDICTIONAL STATEMENT

            The district court had jurisdiction under 15 U.S.C. § 4 and 28

       U.S.C. §§ 1331, 1337(a), and 1345. The court entered final judgment on



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       July 28, 2023. AA filed a notice of appeal on September 25, 2023. 1-

       JA85. This Court has jurisdiction under 28 U.S.C. § 1291.

                           STATEMENT OF THE ISSUES

            AA does not challenge any of the district court’s factual findings as

       clearly erroneous, which are thus accepted as true for this appeal. The

       questions presented are:

            1. Whether the district court correctly determined that Plaintiffs

       satisfied their initial burden under the rule of reason, directly and

       indirectly, based on its unchallenged factual findings of many types of

       actual and likely anticompetitive effects and the NEA’s market power.

            2. Whether the district court correctly concluded that Defendants

       failed to meet their burden of showing procompetitive justifications,

       given its factual rejection of Defendants’ claims that the NEA caused

       increased output and benefited customers.

            3. Whether the district court’s unchallenged factual findings

       support its determinations that the NEA’s purported objectives could

       have been achieved by a less restrictive alternative and the NEA’s

       harms far outweighed any benefits.




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                            STATEMENT OF THE CASE

            This case concerns the NEA, an agreement of “‘unprecedented’

       nature” that completely ended competition between two of the largest

       airlines in the Northeast. ADD12. The district court carefully

       considered the NEA over the course of a lengthy bench trial and

       concluded that it violated Section 1 of the Sherman Act, 15 U.S.C. § 1.

         A. Defendants Are Major Competitors with Dominant Market
            Shares on Numerous Routes in the Northeast.

            AA and JetBlue are both “formidable and influential” airlines.

       ADD10-11. AA, the largest airline in the world, is one of three large

       domestic “legacy” air carriers (with Delta and United). ADD10, ADD15

       & n.4. JetBlue is a unique and important “disruptor” competing with

       these legacy carriers. ADD21-22. JetBlue provides high-quality service

       while maintaining a lower cost structure and offering lower fares.

       ADD21, ADD46.

            In 2019, before the NEA, AA and JetBlue were leading

       competitors in the Northeast: they were “two of the four largest carriers

       operating in New York, and two of the largest three in Boston.” ADD11.

       They competed to provide nonstop service on 29 routes to and from




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       Boston and New York, and they had dominant market shares on many

       of those routes—as high as 96%:




       2-JA1295 (DX-1055).1




       1    “B6” is JetBlue’s airline code. ADD89 n.93.

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         B. Before the NEA, Defendants Competed Vigorously on
            Northeast Routes—and Consumers Benefited.

            JetBlue’s “aggressive approach to competing with” AA and other

       legacy carriers is “well documented”: when JetBlue entered a market,

       fares went down, and when JetBlue exited, fares went up—the so-called

       “JetBlue Effect.” ADD22 & n.13. Before the NEA, JetBlue “trigger[ed]

       fare responses by American” and lowered fares for Northeast travelers.

       ADD22. After JetBlue entered the Boston-Washington Reagan (DCA)

       route, for example, AA lowered its fares on the route by 60%. 5-JA3511.

       AA constrained JetBlue’s pricing, too. When AA suspended flying JFK-

       San Diego, JetBlue responded by raising its fares on that route. ADD22;

       1-JA221-26.

            AA and JetBlue also competed by offering more flights on key

       routes. In 2019, for instance, AA announced new service on Boston-

       Austin to “[g]o get our share back from [Delta] and [JetBlue].” 3-

       JA1459-60. In “retaliation” for AA’s move, JetBlue added frequency to

       Boston-Austin and numerous other Boston routes. 1-JA274-76.

            Defendants competed on product quality as well. JetBlue’s

       introduction of Mint, its premium-class service, “elevated the customer

       experience” compared with legacy carriers’ higher-priced products, 1-

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       JA101 (JetBlue CEO), which “increased demand for premium seats” on

       transcontinental routes, ADD22. In response, AA and other carriers

       substantially cut fares, ADD22, increased capacity, 5-JA3508-10, and

       improved premium cabin quality, 5-JA2852.

           C. Instead of Continuing to Compete, Defendants Formed the
              NEA.

             Defendants each had ambitious plans to expand in the Northeast

       before the NEA. ADD53-54. JetBlue’s strategy called for increasing its

       daily departures in Boston and at New York’s JFK and Newark

       Airports, ADD53, and it had agreed to lease at least 27 of AA’s JFK

       slots.2 ADD28; ADD53 & n.59; 3-JA1517; 1-JA376-78. AA, meanwhile,

       planned to increase capacity in Boston, ADD54, and obtain three new

       gates there, 1-JA280-82; 3-JA1457; 3-JA1503. AA also planned to

       increase capacity in New York using its existing slot portfolio, ADD54;

       1-JA513-16, 3-JA1710, which it had been “knowingly underutiliz[ing],”

       ADD98 n.110.




       2     A slot is “authorization from the FAA to land or take off during a
       particular period of time.” ADD20. JFK and LaGuardia Airports are
       both slot-controlled. Id.

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            In late 2019, however, Defendants shelved these plans and began

       discussing an alliance. ADD28. They considered several options,

       including an “East Coast [International] Alliance” connecting JetBlue’s

       domestic flying with AA’s international flying, similar to AA’s existing

       “West Coast International Alliance” with Alaska Airlines. ADD50-51; 3-

       JA1649. But Defendants opted for the NEA, a merger-like arrangement,

       ADD37, even though they understood it presented greater “potential

       antitrust risk,” 5-JA3121. They finalized the NEA in July 2020. ADD30.

                  1.    Defendants Acted Like One Airline in the
                        Northeast.

            Under the NEA, AA and JetBlue “function[ed] like a single

       airline” at Boston Logan and New York’s LaGuardia, JFK, and Newark

       Airports. ADD38; see 3-JA1392-93. The NEA’s principal features were:

                 Joint network planning and capacity coordination.
                  Defendants jointly set schedules and capacity on most routes
                  touching NEA airports. ADD30-31.

                 Revenue sharing. Defendants shared revenue from NEA
                  flights. See ADD31-32; 3-JA1423-56. Thus, Defendants were
                  “metal neutral[],” i.e., “indifferent to whether a passenger
                  flies a particular NEA route on an American plane or a
                  JetBlue plane.” ADD31.




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                 Codesharing. Defendants could market and sell tickets on
                  each other’s domestic NEA flights. ADD31 & n.27; 2-JA1180-
                  1220.

                 Slot leases and restrictions. AA leased 69 LaGuardia slots
                  and 30 JFK slots to JetBlue; JetBlue leased eight JFK slots
                  to AA. ADD37. Neither could sell or transfer more than 20%
                  of its slots at JFK or LaGuardia to other carriers. ADD35; 3-
                  JA1413.

                 Loyalty program reciprocity. Members of each
                  Defendant’s loyalty program could earn and redeem
                  frequent-flier miles on the other’s NEA flights. ADD31.

            This combination of features was “unprecedented” in the domestic

       airline industry, ADD12, because many airlines, including Defendants,

       understood that it was legally risky for domestic carriers to share

       revenue and coordinate capacity, ADD87-88; 1-JA127-28. The NEA was

       instead modeled on international alliances, 1-JA384, 5-JA3458-59,

       which require immunity from regulators because their output

       coordination and revenue sharing otherwise would violate antitrust

       law, ADD87.

                  2.    The NEA Triggered Two Complementary
                        Government Investigations.

            After Defendants announced the NEA in July 2020, both the

       Department of Transportation (DOT) and the Department of Justice


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       (DOJ) opened investigations. DOT and DOJ have separate authority to

       review airline joint ventures, 3-JA1776, under 49 U.S.C. § 41720 and

       the Sherman Act, respectively.

            The DOT review was “informal[],” 3-JA1775, and “was not

       designed to approve or disapprove the alliance,” 3-JA1776. Defendants

       committed to divest a small number of slots at JFK and DCA, ADD35-

       36, and to grow capacity in New York until 2025, ADD36; 2-JA1025-27.

       But these commitments “did not address all of [DOT]’s concerns,” 3-

       JA1776-77, because, among other things, they did not address flights at

       Boston, ADD101 n.113. DOT entered into an agreement with these

       limitations because it “intend[ed] to defer to DOJ, as the primary

       enforcer of Federal antitrust laws, to resolve antitrust concerns with

       respect to the NEA.” 3-JA1779; ADD62-63.

         D. After Defendants Implemented the NEA, Their “Once
            Vigorous” Competition Stopped and Travelers Were
            Harmed.

            Under the NEA, Defendants “no longer compete[d] with one

       another” on NEA routes. ADD38; 1-JA119 (JetBlue’s CEO). And

       because they were sharing revenues, Defendants were “not trying to

       attract passengers away from [each other] on those routes anymore.” 2-



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       JA829 (AA executive); see, e.g., 5-JA3139 (JetBlue’s director of sales

       saying that if business shifted to AA, “that is okay” because “[i]n the

       end the revenue is pooled”); 5-JA3451 (instructing AA staff to

       “[m]aximize revenue between the two” Defendants).

            Next, Defendants allocated markets and reduced capacity on

       important NEA routes:

                 Market allocation. Defendants divided NEA routes with
                  the goal of only having “one carrier per market wherever
                  possible.” ADD82. On some routes, one Defendant ceded the
                  route to the other by exiting altogether. ADD43; ADD82. For
                  example, AA exited the busy Boston-LaGuardia route,
                  ADD82, even though it had no pre-NEA intentions to drop
                  that route, 2-JA839. Defendants also declined to enter
                  markets each other already served; for example, AA declined
                  to fly Boston-Raleigh/Durham and Boston-Austin, despite
                  prior plans to do so. 3-JA1483. And on routes that both
                  Defendants continued to serve under the NEA, Defendants
                  divided time slots between themselves. ADD43-44. They
                  planned their joint schedule to minimize or eliminate “wing
                  tips”—i.e., competing flights departing around the same
                  time. ADD43-44; 1-JA579-80.

                 Reduced capacity. Defendants reduced capacity on the
                  Boston-DCA route that both served, ADD44-45, and offered
                  fewer total flights on Boston-LaGuardia, ADD44, and JFK-
                  San Francisco, 5-JA2946, which were allocated to JetBlue.
                  And to fly the JFK-San Francisco route by itself, JetBlue
                  had to pull Mint planes from other transcontinental routes.
                  See ADD96; 5-JA2946-47.




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            Finally, under the NEA, JetBlue’s costs increased and its

       opportunities to access new markets decreased—both of which

       weakened JetBlue in its “unique role” as a disruptive, low-cost

       competitor. ADD82; ADD46-48. The NEA raised JetBlue’s costs by

       requiring it to pay higher airport costs and spend more on IT systems.

       ADD46; ADD80-81; 1-JA131. Due to the increased costs, JetBlue

       considered reductions in service quality, such as overbooking flights. 5-

       JA3137.

            JetBlue also lost opportunities to access new markets because of

       the NEA. ADD46-48; ADD80-81. The U.K. Competition and Markets

       Authority found JetBlue ineligible for free “remedy slots” at London’s

       Heathrow Airport because the slots were for airlines “independent of”

       AA. ADD80; 5-JA3019; 5-JA3503-05. And JetBlue lost a bid to secure

       peak-hour Newark runway timings. ADD47-48; ADD80.

         E. This Litigation

            Plaintiffs brought this rule-of-reason challenge in September 2021

       to enjoin the NEA under Section 1. 1-JA43. Following a month-long

       bench trial with 24 live witnesses and 17 additional witnesses testifying

       by deposition, 1,200 pages of expert reports, and 631 record exhibits,



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       the district court issued a 94-page opinion. The court rejected, as a

       matter of fact, nearly all of Defendants’ arguments; credited Plaintiffs’

       expert witness instead of Defendants’ experts; and concluded that the

       NEA violated Section 1. ADD102.

            The court followed the burden-shifting framework of a full rule-of-

       reason analysis. ADD72.3 Under that framework, the plaintiff must

       make an initial showing, directly or indirectly, that the challenged

       agreement has a substantial anticompetitive effect. Id. “If the plaintiff

       succeeds, the burden shifts to the defendant ‘to show a procompetitive

       rationale for the restraint.’” ADD73 (citation omitted). If the defendant

       makes this showing, “the ultimate burden returns to the plaintiff.” Id.

       The plaintiff can prevail “with proof that ‘the procompetitive efficiencies

       could be reasonably achieved through less anticompetitive means’” (a

       less restrictive alternative) or that, “on balance, the restraint’s

       anticompetitive effects outweigh any procompetitive benefits.” Id.

       (citation omitted).



       3     Section 1 of the Sherman Act proscribes “unreasonable” restraints
       of trade. Ohio v. Am. Express Co., 585 U.S. 529, 540 (2018) (“Amex”).
       Restraints can be unreasonable under the per se rule or the rule of
       reason. Id.

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                   1.    Plaintiffs “Convincingly” Established the NEA’s
                         Anticompetitive Effects.

            a.     The district court found, under the direct approach to step

       one, that the NEA had caused actual harm to competition in “at least

       three ways.” ADD76. First, the NEA eliminated head-to-head

       competition between AA and JetBlue—competition that had benefited

       passengers. Defendants “function[ed] like a single airline in the NEA

       region” and “no longer adhere[d]” to their former “competitive

       practices,” such as “respond[ing] to each other’s fares” or “launching

       new service to directly compete” on routes. ADD38-40.

            Second, JetBlue was weakened as a “maverick” competitor. The

       NEA “diminish[ed] JetBlue’s ability to provide disruptive, low-cost

       competition” to the legacy carriers in Northeast markets. ADD48.

            Third, the NEA allocated markets. In numerous markets,

       including 13 at LaGuardia alone, the NEA “allocated the route to one

       [Defendant] and caused the other to exit.” ADD43. “The only reason

       either defendant stopped service on these routes [was] the NEA.” Id.

            b.     The district court also held that Plaintiffs satisfied their

       burden under the indirect approach by showing the NEA’s market




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       power and “evidence that the challenged restraint harms competition.”

       ADD84 (citation omitted).

            First, the court found that Defendants had market power. ADD85-

       86. The court defined the relevant product market in this case as

       “scheduled air passenger service” and the relevant geographic markets

       as routes with Boston or New York as an endpoint where Defendants

       competed or would likely compete. ADD84-85. The court concluded that

       the NEA’s high market shares in many of these markets supported a

       finding of market power, particularly given that the NEA markets were

       “highly concentrated” and protected by “significant barriers to entry.”

       ADD86. Defendants’ combined shares in relevant nonstop overlap

       markets were substantial, ranging as high as 96%. 2-JA1295. 4

       Moreover, Defendants’ overall capacity share was 52% in Boston, 5-

       JA3401 (cited at ADD78 n.79), and at least 25% in New York, ADD86




       4    Defendants carved six of the nonstop overlap routes out of the
       NEA’s capacity-coordination and revenue-sharing provisions. ADD36-
       37. But the district court found that Defendants had stopped competing
       even on those “carve-out routes.” ADD78. And other provisions of the
       NEA, such as its codesharing and frequent-flyer reciprocity provisions,
       applied to these routes, ADD37, enabling Defendants to collaborate
       rather than compete, ADD101 n.113.

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       (citing 5-JA3223-24), further underscoring their substantial market

       share on numerous NEA routes.

               As the court explained, the scarcity of gates and slots at NEA

       airports created “significant—and in some instances insurmountable—

       barriers to entry.” ADD79. JFK and LaGuardia slots “rarely become

       available,” and the NEA “fortif[ied]” this barrier by limiting Defendants’

       slot transfers to non-NEA carriers. Id. Similarly, the “scarce supply” of

       gates prevented entry and expansion in Boston. ADD11. These

       obstacles “block[ed] other carriers from constraining harms flowing

       from” the NEA. ADD79.

               Defendants’ conduct also showed directly that the NEA had

       market power (i.e., the ability to influence market prices) because

       Defendants had demonstrated such influence over prices in the past.

       ADD85-86. And they now made joint decisions about whether JetBlue

       would serve a market, which augmented their power since the JetBlue

       Effect depended on the presence of JetBlue’s “unique” product. ADD86

       n.88.

               In addition to Defendants’ market power, the court found that the

       NEA was likely to harm competition. The NEA represented “the


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       alignment of two distinct and powerful competitors in a unique and

       congested region.” ADD86-87. In addition to the numerous harms it had

       already found, the court found that the NEA exerted upward pressure

       on prices. ADD56. The court agreed with the analysis of Plaintiffs’

       expert Dr. Nathan Miller, who explained that the NEA’s revenue

       sharing aligned Defendants’ incentives to raise fares. Id.; 1-JA661.

                   2.    Defendants “Offered Minimal Evidence” that the
                         NEA Yielded Procompetitive Benefits.

            Because Plaintiffs met their initial burden with “strength,” the

       burden shifted to Defendants to prove that the NEA yielded

       “substantial” procompetitive benefits. ADD88. Defendants did not carry

       that burden. ADD102. The court found not credible the expert witnesses

       Defendants called to testify to the NEA’s competitive effects and

       consumer benefits, rejecting their opinions due to their bias and

       demeanor and the record evidence undermining their opinions. ADD62.

       And Defendants’ other evidence failed to establish any of Defendants’

       claimed benefits.

            a.     The court rejected, on factual grounds, Defendants’ claim

       that the NEA “pool[ed]” their resources to “maximize customer value.”

       ADD89. The court found that that was “simply not a fair

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       characterization of the NEA’s ‘underlying purpose,’ based on the weight

       of the evidence presented at trial.” Id. Rather, Defendants’ goal was

       merely to get “larger and more powerful,” ADD10, “to keep pace with

       Delta,” ADD89-90.

            Moreover, the court found that Defendants failed to prove that the

       NEA actually increased customer value. The NEA provoked only a

       “milquetoast” response from Delta and United, undermining

       Defendants’ claim that the NEA encouraged more competition. ADD95.

       The court found that the NEA was not “innovative” for travelers,

       ADD92-93: most travelers buy “a ticket for a flight (or flights) from one

       place to another,” and the NEA did not “revolutionize[] that ‘product’ in

       any way.” ADD93 n.97. Nor did the NEA increase Defendants’

       attractiveness to corporate customers: no corporate customer requested

       a joint NEA bid for travel, ADD46, and there was “no significant

       evidence that Defendants were losing corporate accounts before the

       NEA or ha[d] gained new accounts because of it,” ADD95 n.100.

            Thus, the NEA simply made Defendants larger, which is not

       “‘procompetitive’ under the law.” ADD90.




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            b.     Although Defendants pointed to an increase in capacity at

       NEA airports, the district court rejected the claim that the NEA was

       responsible for “add[ing] new flying [Defendants] could not otherwise

       have pursued.” ADD98. The evidence showed that Defendants both had

       pre-NEA plans for growth in the Northeast, ADD53-54; for example, AA

       had already been planning to “upgauge” its regional jets in New York,

       replacing them with larger ones, and AA had already agreed to lease

       New York slots to JetBlue, which would increase JetBlue’s New York

       flying. ADD96 & n.104; see, e.g., 3-JA1723. Thus, the court could not

       “attribute [such] growth to the NEA.” ADD98 n.110.

            Defendants also claimed that the NEA caused them to enlarge

       their fleets, but the evidence undercut that claim as well. ADD95.

       JetBlue asserted that it had delayed the retirement of certain aircraft

       to support the NEA, but the evidence showed that JetBlue

       contemplated doing so even without the NEA. ADD41 n.44. JetBlue also

       claimed it had accelerated orders for new aircraft due to the NEA, but

       the court found those planes were part of JetBlue’s plan “with or

       without the NEA.” ADD41 n.44. AA, meanwhile, could only suggest

       “gently” that the NEA was “‘in part’ responsible for ‘additions’” to its


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       fleet; its vice president of network strategy undercut even that claim by

       “declin[ing] to directly attribute such (potential, future) expansion

       strategies to the NEA.” Id.; see 2-JA825-826.

            The court additionally found that any capacity growth in NEA

       markets came “at the expense of at least some pre-NEA plans to devote

       resources to growth elsewhere.” ADD40. The court could not attribute

       “growth” that came from simply moving planes around to the NEA,

       rather than to other factors—such as Defendants’ incentive to

       “artificially inflate capacity in the [New York] airports” so they could

       meet their commitments to DOT. ADD101 n.113.

            Defendants lastly claimed that they launched new routes from

       NEA airports after the NEA was announced. But no “reliable evidence”

       showed that any new routes were attributable to the NEA. ADD97.

       Indeed, like the other purported “growth” from the NEA, the claimed

       new routes were “funded by planes pulled from other locations.” Id.

                   3.    Plaintiffs Also Proved a Less Restrictive
                         Alternative and that the NEA’s Harms
                         Outweighed Any Benefits.

            a.     The court found that a less restrictive alternative to the

       NEA existed: “a more limited” alliance, similar to AA’s West Coast


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       International Alliance (WCIA) with Alaska Airlines, paired with slot

       leases. ADD100.

            The WCIA includes a codesharing arrangement between AA and

       Alaska; reciprocal access to lounges and benefits for each airline’s

       frequent flyers; and capped revenue sharing. ADD25. However, the

       WCIA does not include routes on which both airlines offer competing

       nonstop service, and the WCIA airlines do not “coordinate schedules” or

       “allocate markets.” ADD26.

            The court found that Defendants could have used a “WCIA-style

       arrangement to leverage any complementary aspects of their networks,

       better compete with Delta, and use JetBlue’s domestic traffic to feed

       American’s international service out of the northeast.” ADD100.

       Defendants could have “[s]upplement[ed]” that WCIA-style alliance

       “with a slot lease in New York, such as the one the defendants were

       negotiating before the pandemic.” Id.

            The court found—based on AA’s own pre-NEA analysis of a WCIA-

       style option—that such a venture “offered comparable value and would

       have spurred comparable growth” to the NEA. ADD52 (citing 3-JA1649

       and 2-JA864-65). The court further found that a WCIA-type alliance


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       would have yielded “comparable competitive responses” from Delta and

       United to those that “followed the NEA[].” ADD52-53.

            b.     The court finally concluded that if the NEA’s anticompetitive

       harms were weighed against its procompetitive benefits, “the scales”

       would “tip overwhelmingly in the plaintiffs’ favor.” ADD101. The

       anticompetitive harms that Plaintiffs proved were “considerable and

       obvious,” ADD76, while Defendants had “produced minimal objectively

       credible proof to support” any of their claimed benefits, ADD13.

         F. Post-Trial Proceedings

            Before the district court entered its final injunction, JetBlue

       terminated the NEA, Dkt. 370 at 17:15-17, purportedly to focus more on

       its then-pending merger with Spirit Airlines (now enjoined, United

       States v. JetBlue Airways Corp., 2024 WL 162876 (D. Mass. Jan. 16,

       2024), appeal dismissed (1st Cir. Mar. 5, 2024)).

            The court issued a final injunction prohibiting agreements

       between the two Defendants that are “substantially similar” to the

       NEA. ADD6. While Plaintiffs had requested a broader injunction—

       preventing Defendants from entering into any substantially similar

       agreement with any other domestic airline, Dkt. 358-1 at 6—the court



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       denied that relief, explaining that its decision had “depend[ed]

       considerably on the particular circumstances of the case,” including “the

       characteristics of the NEA agreements[] and the specific geographic

       region and markets for air travel that were impacted by the defendants’

       conduct.” Dkt. 373 at 3.

                              SUMMARY OF ARGUMENT

             This case turned on the evidence at trial and the parties’

       respective burdens. The district court properly applied the legal

       framework of a full rule-of-reason analysis—concluding, after

       examining all the evidence, that Plaintiffs had carried their burden

       while Defendants had not carried theirs.

             I.     AA fails to show error in the district court’s analysis of

       Plaintiffs’ initial burden.

             A. The court correctly held that Plaintiffs carried their initial

       burden under the direct approach by showing numerous actual

       anticompetitive effects, each of which is individually sufficient.

             In particular, the court found that the NEA eliminated

       competition between AA and JetBlue in the Northeast. Defendants no

       longer competed at all—on “fares, schedules, service, advertising, or



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       anything else.” ADD78; see ADD39-40. Eliminating “significant

       competition” between two firms that are “major competitive factors” in

       the market is an actual anticompetitive harm. United States v. First

       National Bank & Trust Co. of Lexington, 376 U.S. 665, 673 (1964)

       (“Lexington Bank”). The NEA weakened JetBlue’s incentive and ability

       to act as a disruptive competitor, ADD48, itself an anticompetitive

       effect. And the NEA “reduc[ed] the importance of consumer preference

       in setting price and output.” NCAA v. Bd. of Regents of Univ. of

       Oklahoma, 468 U.S. 85, 107 (1984). Defendants allocated NEA markets

       among themselves and pooled revenues, ADD37, ADD83—two types of

       restraints recognized to be per se unlawful—enabling them to use their

       collective market power to, among other things, set price and output.

            The court also found that the NEA lowered output by decreasing

       capacity and reducing flight frequencies on “multiple routes, including

       some that are heavily traveled.” ADD43; p. 13, supra. And the NEA

       reduced “the number of distinct choices for consumers” in already-

       concentrated NEA markets. ADD77. These, too, are actual

       anticompetitive effects.




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            B. The court also correctly held that Plaintiffs carried their initial

       burden under the indirect approach by showing the NEA had market

       power and tended to harm competition. The district court applied this

       Court’s test for market power, looking at Defendants’ shares in the

       relevant markets and barriers to entry. It also found market power

       through evidence that Defendants had the demonstrated ability to

       influence market prices.

            The court then found that the NEA had substantial

       anticompetitive tendencies. The NEA combined two significant

       competitors and thus was likely to reduce competition substantially. It

       put upward pressure on Defendants’ fares: each Defendant was

       incentivized to raise fares to higher altitudes under the NEA because its

       revenue-sharing mechanism would allow them to recapture revenue lost

       after a price increase. And it raised barriers to entry in the Northeast

       by preventing Defendants from transferring slots to other airlines.

            C. AA’s attempts to end-run the court’s findings of substantial

       anticompetitive harm are unavailing. Labeling the NEA a “joint

       venture” does not change the applicable standard or render features

       like capacity coordination, revenue sharing, and market allocation—


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       which are routinely condemned under antitrust law—competitively

       benign.

            AA argues that already-observed price and output effects are the

       only ways to establish actual anticompetitive harm, but controlling

       precedent is to the contrary. And even if already-observed effects on

       prices or output were required, the district court’s unchallenged

       findings of decreased frequencies and capacity on key routes establish

       such effects.

            Finally, AA’s claim that the district court conducted a “quick look”

       fails. The court considered every issue and made every finding required

       by a full rule-of-reason framework. The court found the NEA’s

       anticompetitive effects “considerable and obvious,” ADD76, but that

       does not make the court’s comprehensive analysis a “quick look.”

            II.     AA also fails to show error in the district court’s holding that

       Defendants failed to show that the NEA yielded procompetitive

       benefits. The court carefully considered Defendants’ evidence at step

       two, finding that the evidence did not support—and often

       contradicted—Defendants’ story. The court concluded that the NEA




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       produced minimal proven benefits for consumers and instead simply

       made Defendants bigger.

            The court discredited the benefits opinion of Defendants’ expert,

       Dr. Mark Israel, finding him biased and his analysis substantively

       flawed because of its false assumptions and cherry-picked data. It

       considered and rejected Defendants’ claim that the NEA increased

       output, concluding that Defendants had not proved that the NEA—

       rather than a host of other factors—caused an increase in their output

       of flights, routes, or planes. ADD95-98. And the court factually rejected

       Defendants’ assertions that the NEA made them more attractive to

       consumers, finding that Defendants’ goal was not to improve their

       product, ADD89, and that the record showed they did not actually

       become more attractive to either individual travelers or corporate

       customers, ADD92-95.

            AA’s failure at step two was “rooted” in the court’s extensive

       factual findings, not the legal error that AA claims. Br. 45. The court

       acknowledged that joint ventures can increase efficiency and enhance

       competition. ADD72, ADD92-94. But as the court explained, Defendants

       could not justify the NEA by “pointing out that other joint ventures


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       have often produced efficiencies”; Defendants were required to show

       that the NEA yielded procompetitive benefits. ADD93 (emphasis

       added). They did not do so, and the court rightly held that Defendants

       could not overcome that failure of proof by relabeling the NEA’s

       anticompetitive features as procompetitive benefits. The NEA simply

       made Defendants larger, which is not itself procompetitive.

            III. Even if Defendants had carried their step-two burden,

       affirmance would be warranted based on either or both of the district

       court’s determinations that a less restrictive alternative would produce

       all of Defendants’ claimed procompetitive benefits and that the NEA’s

       harms would far outweigh those benefits. AA incorrectly suggests that

       the court’s step-three analysis did not account for the NEA’s purported

       benefits. Br. 53-54. And by not raising other step-three issues or

       balancing at all in its brief, AA has forfeited any challenge to these

       parts of the opinion.

                               STANDARD OF REVIEW

            Following a bench trial, this Court reviews the district court’s

       conclusions of law de novo. Calandro v. Sedgwick Claims Mgmt. Servs.,

       Inc., 919 F.3d 26, 33 (1st Cir. 2019). In contrast, the district court’s



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       factual findings “must be honored” unless clearly erroneous. Id. This

       Court’s “deference is even greater” when factual findings “are based on

       determinations regarding the credibility of witnesses,” United States v.

       Rostoff, 164 F.3d 63, 71 (1st Cir. 1999), including expert witnesses,

       United States v. Jordan, 813 F.3d 442, 447 (1st Cir. 2016).

                                        ARGUMENT

            The “‘statutory policy’ of the [Sherman] Act is one of competition.”

       Alston, 594 U.S. at 95. “The rule of reason requires courts to conduct a

       fact-specific assessment” of a restraint’s effect on competition, Amex,

       585 U.S. at 541, and this case was decided by the facts the district court

       found. The court credited Plaintiffs’ showing that the NEA caused

       substantial harm to competition, making the public worse off. By

       contrast, the court found Defendants’ witnesses not credible and their

       claims of procompetitive benefits unsupported.

            On appeal, AA tries to replace the district court’s extensive factual

       findings with an alternative set of facts that the court expressly

       rejected. AA relies on evidence that the district court did not credit,

       faults the court for not making factual findings that it actually made,

       and claims concessions that Plaintiffs did not make. At bottom, AA’s



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       “grievance” is “not one of law, but of fact”—and like other efforts to

       “rehearse[] the evidence and reargue[] its weight and purport” on

       appeal, this one is “foredoomed.” Arbona-Custodio v. De Jesus-Gotay,

       873 F.2d 409, 410 (1st Cir. 1989).

            The NEA encompassed a collection of restraints including, among

       others, a market-allocation agreement and an agreement to share

       revenues from Defendants’ respective (and formerly competing) flights,

       which were designed to make both carriers “metal neutral”—i.e.,

       “indifferent to whether a passenger [flew] a particular NEA route on an

       American plane or a JetBlue plane.” ADD31-32, ADD43-45. On their

       own, restraints of these types are subject to per se rules because of their

       anticompetitive character. See Palmer v. BRG of Georgia, Inc., 498 U.S.

       47, 49 (1990) (per curiam) (market allocation); Citizen Pub. Co. v.

       United States, 394 U.S. 131, 135 (1969) (profit-pooling). And those

       restraints harmed competition here: while AA continues to assert on

       appeal that “[e]ach airline continued to price flights independently,” Br.

       10, 38, 47, the district court found—consistent with executives’

       admissions at trial—that “[t]here is simply no credible evidence that

       American and JetBlue have continued to treat each other as


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       competitors within the NEA.” ADD39, ADD78; 1-JA119 (JetBlue CEO);

       2-JA829 (AA executive).

             Contrary to AA’s claim that the district court reflexively

       condemned the NEA, the district court engaged in a “deep and

       searching review of the voluminous record” under the rule of reason.

       ADD76. Its findings at every step of that analysis established the NEA’s

       unlawfulness and refute AA’s arguments on appeal.

        I.   Plaintiffs Met Their Initial Burden Through a “Powerful
             Showing of Serious Anticompetitive Harm.”

             Under the rule of reason, Plaintiffs had an initial burden to show,

       directly or indirectly, that the NEA had a substantial anticompetitive

       effect in at least one relevant market. Amex, 585 U.S. at 541; Stop &

       Shop Supermarket Co. v. Blue Cross & Blue Shield of R.I., 373 F.3d 57,

       61 (1st Cir. 2004). Plaintiffs satisfied this initial burden—as the district

       court correctly found—through both direct and indirect proof. ADD76-

       88.

         A. The District Court’s Findings Established Anticompetitive
            Harm Directly.

             Under the direct approach, plaintiffs can establish a prima facie

       case through “proof of actual detrimental effects on competition.” Amex,



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       585 U.S. at 542 (brackets omitted). Here, Plaintiffs satisfied the direct

       approach through the district court’s findings that the NEA (1)

       eliminated significant head-to-head competition, Lexington Bank, 376

       U.S. at 671-72; Amex, 585 U.S. at 550; (2) reduced output, id. at 542;

       and (3) reduced consumer choice, FTC v. Indiana Fed’n of Dentists, 476

       U.S. 447, 459 (1986) (“IFD”). Each set of findings is independently

       sufficient.

                     1.   Loss of Significant Head-to-Head Competition

             The district court found the NEA harmed “competition itself,”

       NYNEX Corp. v. Discon, Inc., 525 U.S. 128, 135 (1998), by ending

       significant head-to-head competition in the Northeast, which had,

       among other benefits, lowered fares, increased output, and increased

       quality for consumers.

             The Sherman Act rests on the principle that “competition will

       produce not only lower prices, but also better goods and services” in the

       long run. Nat’l Soc’y of Pro. Eng’rs v. United States, 435 U.S. 679, 695

       (1978). Harm to “the competitive process, i.e., to competition itself,” is

       thus not only cognizable, NYNEX, 525 U.S. at 135; see Clamp-All Corp.

       v. Cast Iron Soil Pipe Inst., 851 F.2d 478, 486 (1st Cir. 1988) (Breyer,



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       J.), but the “most significant” kind of anticompetitive effect, Bd. of

       Regents, 468 U.S. at 107.

            Accordingly, in Lexington Bank, the Supreme Court held that

       when two firms “are major competitive factors in a relevant market, the

       elimination of significant competition between them” is an

       anticompetitive harm. 376 U.S. at 671-72 (relying on four earlier

       Supreme Court cases); Bd. of Regents, 468 U.S. at 100 n.39 (agreeing

       that “a court would not hesitate in enjoining a domestic selling

       arrangement” between “major factors” in the same market that

       “eliminate[d] important price competition between them”). The

       Supreme Court reaffirmed this principle in Amex, observing that the

       plaintiffs there could have satisfied their initial burden by showing that

       the challenged restraint “ended competition between credit-card

       networks with respect to merchant fees.” 585 U.S. at 550.5

            This case fits squarely within Lexington Bank. Defendants were

       major factors in the Northeast, accounting for 25 to 96% of various


       5     Eliminating substantial head-to-head competition is not unlawful
       if there are sufficient offsetting procompetitive benefits. See United
       States v. Rockford Mem’l Corp., 898 F.2d 1278, 1283 (7th Cir. 1990). But
       eliminating such competition satisfies a plaintiff’s initial burden—as
       Amex and Board of Regents show.

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       relevant markets. JA1295. And they were vigorous direct competitors

       before they agreed to stop competing. They undercut each other’s prices,

       causing “substantial, market-wide reduction[s] in fares.” ADD22. They

       introduced new service and products in each other’s markets,

       intensifying their competitive pressure on one another. Id.; see pp. 8-9,

       supra. And they used discounts and services to woo each other’s

       customers. ADD22; 5-JA2896 (pre-NEA pitch by JetBlue to “win some

       of [a corporate customer’s] AA loyalists”). Under the NEA, however,

       Defendants “no longer adhere[d] to these competitive practices with

       respect to one another.” ADD39-40.

            Instead, Defendants jointly set capacity, ADD30, allocated

       individual routes to one defendant, ADD43, and shared revenues on

       NEA flights, ADD31-32. This arrangement aligned the airlines’

       incentives and decision-making, allowing them to set price and capacity

       levels to maximize their collective revenue, 1-JA669, 5-JA3451, even if

       that meant leaving consumer demand unfulfilled. This harmed the

       competitive process by, among other things, making price and output

       “unresponsive to consumer preference.” Bd. of Regents, 468 U.S. at 107;

       Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 768-69 (1984)


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       (noting the anticompetitive potential when “two or more entities that

       previously pursued their own interests separately are combining to act

       as one for their common benefit”).

            Beyond eliminating the airlines’ substantial direct competition,

       the NEA undercut JetBlue’s “unique role in market” as a disruptive

       competitor driving down market-wide prices. ADD82. Maverick firms

       like JetBlue often “play[] a disruptive role in the market to the benefit

       of customers” by “tak[ing] the lead in price cutting” or “resist[ing]

       otherwise prevailing industry norms to cooperate on price setting or

       other terms of competition.” United States v. H&R Block, Inc., 833 F.

       Supp. 2d 36, 79 (D.D.C. 2011). Thus, suppressing the inherently

       unpredictable competition of a maverick is itself an anticompetitive

       harm. United States v. Aetna Inc., 240 F. Supp. 3d 1, 43 (D.D.C. 2017);

       FTC v. Staples, Inc., 970 F. Supp. 1066, 1083 (D.D.C. 1997).

            Finally, the district court found that the NEA did not merely have

       the effect of ending Defendants’ head-to-head competition: it was

       “designed and intended” to end that competition. ADD101-02. That

       further demonstrated its anticompetitive harm. See McLain v. Real

       Estate Bd. of New Orleans, Inc., 444 U.S. 232, 243 (1980) (“[I]n a civil


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       action under the Sherman Act, liability may be established by proof of

       either an unlawful purpose or an anticompetitive effect.”); Bd. of Trade

       of City of Chi. v. United States, 246 U.S. 231, 238 (1918) (while “a good

       intention” does not “save an otherwise objectionable” restraint, evidence

       of “intent may help the court to interpret facts and to predict

       consequences”).

                  2.     Reduced Output

            AA misstates the record by asserting that “the district court never

       made a finding that the NEA led” to a “reduction of output in any

       relevant market.” Br. 32. In truth, the district court found that the NEA

       reduced output by decreasing capacity and lowering frequencies on

       “multiple routes, including some that are heavily traveled.” ADD43; see

       pp. 13, 26, supra. And the elimination of one defendant or the other

       from numerous routes itself “demonstrated ‘reduced output’” and

       “constitute[d] ‘direct evidence’ of anticompetitive effects.” Vázquez-

       Ramos v. Triple-S Salud, 55 F.4th 286, 299 (1st Cir. 2022) (brackets

       omitted); see Sullivan v. NFL, 34 F.3d 1091, 1101 (1st Cir. 1994) (“By

       restricting output in one form of ownership, the NFL is thereby

       reducing the output of ownership interests overall.”).



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                  3.    Reduced Consumer Choice

            Lastly, the NEA diminished consumer choice. Defendants’ market

       allocation and exits from various routes and time slots reduced the

       number of choices available to consumers in particular markets or

       traveling at specific times. ADD43-44 & n.45. This direct interference

       with consumers’ ability to “mak[e] free choices between market

       alternatives” was an actual anticompetitive harm. Glen Holly Ent., Inc.

       v. Tektronix, Inc., 352 F.3d 367, 374 (9th Cir. 2003) (quotation marks

       omitted); see, e.g., United States v. Dentsply Int’l, Inc., 399 F.3d 181, 194

       (3d Cir. 2005) (restraint had an anticompetitive effect by “limit[ing] the

       choices of products open to dental laboratories”); JetBlue Airways, 2024

       WL 162876, at *28 (“[E]limination of a product option that consumers

       value is a cognizable harm to competition.”).

         B. Separately, Plaintiffs Carried Their Initial Burden Under
            the Indirect Approach.

            Turning from the direct to the indirect approach, the district court

       correctly found that Plaintiffs’ proof of likely anticompetitive effects

       separately satisfied their initial burden. See Addamax Corp. v. Open

       Software Found., Inc., 152 F.3d 48, 53 (1st Cir. 1998) (“a sufficiently

       high risk of an anticompetitive effect” meets plaintiff’s burden); see also


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       Realcomp II, Ltd. v. FTC, 635 F.3d 815, 825 (6th Cir. 2011) (indirect

       showing is made if defendant “is shown to have market power and to

       have adopted policies likely to have an anticompetitive effect”). An

       indirect showing entails proof of “market power, plus some other ground

       for believing that the challenged behavior could harm competition in

       the market.” Tops Markets, Inc. v. Quality Markets, Inc., 142 F.3d 90, 97

       (2d Cir. 1998). The district court made all of the necessary findings

       under the indirect approach; AA does not challenge these findings and

       cannot avoid them.

                  1.    The District Court Applied Well-Established
                        Precedent in Finding that Defendants Had
                        Market Power.

            Market power can be established either through proof that

       defendants have a “sufficient percentage share of a ‘relevant market’”

       and that there are barriers to entry, E. Food Servs., Inc. v. Pontifical

       Cath. Univ. Servs. Ass’n, Inc., 357 F.3d 1, 6 (1st Cir. 2004), or

       alternatively, through “evidence of specific conduct undertaken by the

       defendant that indicates he has the power to affect price or exclude

       competition,” United States v. Visa U.S.A., Inc., 344 F.3d 229, 239 (2d

       Cir. 2003). The district court’s findings satisfied both paths. ADD85-87.



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            AA does not meaningfully dispute the court’s findings as to

       market shares and barriers to entry, nor can it. As to market shares,

       Defendants’ own calculations demonstrated that even with Newark

       included as a New York airport, as Defendants advocated, the NEA’s

       shares ranged from 30 to 96% on numerous NEA routes—the relevant

       markets in this case—far surpassing the threshold for market power. 2-

       JA1295; see Visa, 344 F.3d at 240 (MasterCard member banks’ 26%

       share of highly concentrated market was “sufficient to sustain a finding

       of market power”).6 AA does not contest the district court’s finding of

       barriers to entry either; rather, AA agrees with it. Br. 6-8.

            Instead, AA claims Defendants’ commanding market position was

       immaterial because Delta and United allegedly could “undercut any

       price increase by expanding their output.” Br. 41. But the district court

       found otherwise: Slot and gate limitations “block[ed] other carriers,”

       including Delta and United, “from constraining harms flowing from the



       6     Amicus Chamber of Commerce’s suggestion (Chamber Br. 14-16)
       that the district court did not find market shares on specific routes is
       not properly before this Court, Ryan v. U.S. Immigr. & Customs Enf’t,
       974 F.3d 9, 33 n.10 (1st Cir. 2020), and is incorrect. The district court
       credited Dr. Miller’s route-level analysis of concentration, ADD79
       n.80—which AA concedes “turned on” market shares, Br. 43.

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       [NEA].” ADD78-79. Defendants had “exerted control over prices in the

       past” notwithstanding Delta’s and United’s ability to respond. ADD84-

       85. And the court found that Defendants’ joint decisions about whether

       JetBlue should serve a market “are exercises of market power” given

       the JetBlue Effect, which existed even in markets including Delta and

       United, ADD22 & n.13; ADD86 n.88.

            AA also overlooks that there are two ways to prove market power,

       and the district court found market power through both of them. AA’s

       opening brief addresses only the court’s market-share analysis, without

       even acknowledging the court’s finding that Defendants’ specific

       conduct demonstrated that they had “exerted control over prices in the

       past.” ADD85-86.7 That forfeiture alone is fatal to AA’s market-power

       argument.

            As a last-ditch argument, AA criticizes the district court for

       referring to the “power to influence prices.” Br. 42. But that is a



       7     For example, in May 2019, AA attempted to raise its fares
       systemwide but had to reverse the increase in markets where JetBlue
       did not increase its own fares. 3-JA1615 (cited at Dkt. 325 ¶ 33, in turn
       cited at ADD22). JetBlue, meanwhile, successfully raised prices on JFK-
       San Diego when AA exited the market. See p. 8, supra; ADD22; 5-
       JA2879; 1-JA224-26.

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       common way to define market power in Section 1 cases. See, e.g.,

       Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 452 n.10 (7th Cir. 2020);

       Visa, 344 F.3d at 239.

                   2.    The District Court Correctly Found that the NEA
                         Threatened to Harm Competition.

            The district court correctly held that Plaintiffs satisfied the other

       requirement of the indirect method of proof: “some evidence that the

       challenged restraint harms competition.” Amex, 585 U.S. at 542. Unlike

       the direct approach, the indirect method of proof also reaches

       “threatened effects” on competition. Augusta News Co. v. Hudson News

       Co., 269 F.3d 41, 49 (1st Cir. 2001) (emphasis added); see Addamax, 152

       F.3d at 53; accord Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 983 (9th

       Cir. 2023); Impax Lab’ys, Inc. v. FTC, 994 F.3d 484, 493 (5th Cir. 2021);

       Realcomp, 635 F.3d at 827.

            a.     To begin, the court’s direct-evidence discussion identified

       numerous anticompetitive effects of the NEA—eliminating Defendants’

       head-to-head competition, weakening JetBlue as a maverick competitor,

       and allocating markets—that surely satisfy the indirect approach. Each

       of these anticompetitive practices is likely, in the presence of market

       power, to raise prices and decrease output. Eliminating competition

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       between two significant competitors with combined market shares as

       high as 96% and a history of fierce competition on price and output is

       likely to affect both. See Lexington Bank, 376 U.S. at 672-73; JetBlue

       Airways, 2024 WL 162876, at *27. Restraining a maverick likewise

       tends to drive prices up by reducing competitive pressure on other

       firms. H&R Block, 833 F. Supp. 2d at 80; JetBlue Airways, 2024 WL

       162876, at *28. And market allocation “always or almost always tend[s]

       to restrict competition and decrease output.” Leegin Creative Leather

       Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 886 (2007) (quotation marks

       omitted).

            The district court also found that the NEA’s revenue sharing

       created upward pricing pressure, relying on both Dr. Miller’s opinion

       and the court’s independent assessment. ADD56. Dr. Miller explained

       that before the NEA, if JetBlue had raised fares on a route where it

       competed with AA, some customers would have switched to AA or

       chosen not to fly at all. 1-JA663. But under the NEA’s revenue-sharing

       arrangement, JetBlue financially benefited from AA’s sales. 1-JA664.

       Thus, price increases that were not profitable for Defendants before the

       NEA became profitable under the NEA, id., giving Defendants an


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       incentive to raise prices similar to that after a merger, 1-JA661-62. Dr.

       Miller used an economic model to simulate and quantify the harm that

       this upward pricing pressure would cause in nonstop overlap markets,

       1-JA678-80, calculating upward pricing pressure of at least $627 million

       annually, suggesting significant consumer harm, 1-JA691-92. Finally,

       the NEA “fortif[ied] the barriers to outside competition” in the

       Northeast by limiting each Defendant’s ability to “transfer slots to

       competing carriers.” ADD79; see N. Am. Soccer League, LLC v. United

       States Soccer Fed’n, Inc., 883 F.3d 32, 42-43 (2d Cir. 2018) (plaintiff

       “indirectly established an adverse effect” by showing that the

       challenged restraints “impose[d] increasingly significant barriers to

       entry”) (citation omitted; quotation marks omitted).

            b.     AA asserts that the harms the court identified do not count

       under the indirect approach because they do not satisfy the direct

       approach, but that circular assertion makes little sense. Even if the

       evidence the Court relied on for finding direct effects were insufficient,

       the question under the indirect approach was whether the restraints in

       the NEA (eliminating competition, sharing revenue, allocating markets

       and take-off times), the economic evidence of upward pricing pressure,


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       and the competitive dynamics suggested likely harm to competition

       given Defendants’ market power. They plainly did.

            If the indirect approach required proof of actual effects satisfying

       the direct approach, the indirect approach would serve no function.

       Proving likely anticompetitive effects is also how government enforcers

       fulfill their statutory duty to “prevent” Section 1 violations. 15 U.S.C.

       § 4; id. § 26 (states can seek to enjoin “threatened loss or damage by a

       violation of the antitrust laws”).

            c.     AA’s attacks on the district court’s finding of upward pricing

       pressure are equally meritless. The record undercuts AA’s claim that

       the district court never determined whether prices would “likely”

       increase. Br. 18. Dr. Miller testified, and the court agreed, that

       consumers were “likely to pay higher prices for flights” as a result of the

       NEA, Dkt. 307 at 92:15-93:2 (emphasis added); ADD56; see 3-JA1789.

       The court did not decide whether the specific dollar amount of increased

       fares Dr. Miller predicted was correct, Br. 37, because it did not need to

       do so. The NEA’s likely price increases were a likely anticompetitive

       effect irrespective of their precise magnitude. See Sullivan, 34 F.3d at

       1101 (restraint likely harmed competition because it tended to


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       “depress[] the price of ownership interests in NFL teams”); cf. United

       States v. Anthem, Inc., 855 F.3d 345, 362 (D.C. Cir. 2017) (merger

       “potentially harm[ed] consumers by creating upward pricing pressure”);

       JetBlue Airways, 2024 WL 162876, at *17 (enjoining merger that would

       eliminate “Spirit’s downward pressure on other airline[s’] prices”).

            AA lastly suggests that likely price increases are irrelevant even

       to an indirect showing of anticompetitive harm, Br. 37, but its

       authorities do not support such a rule. In Tops Markets, the challenged

       conduct did not have a likely effect on prices at all. 142 F.3d at 97. And

       Amex and Procaps S.A. v. Patheon, Inc. considered only whether

       plaintiffs had made out direct-evidence cases. Amex, 585 U.S. at 542

       n.6; Procaps, 845 F.3d 1072, 1084 (11th Cir. 2016).

         C. AA’s Contrary Arguments Lack Merit.

            Rather than trying to show error in the district court’s factual

       findings that the NEA caused many types of anticompetitive effects, AA

       argues that the court erred as a matter of law in crediting them. Its

       arguments are illogical and inconsistent with established precedent.




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                  1.    No Special Rules Immunize Agreements Labeled
                        “Joint Ventures.”

            AA first contends that the district court should have reviewed the

       NEA more deferentially. “[J]oint ventures,” it argues, “must be carefully

       analyzed” because they are “not usually unlawful.” Br. 34 (quotation

       marks omitted). And in the joint venture context, AA suggests, obvious

       restraints on competition—such as reducing firms’ head-to-head rivalry,

       coordinating output, and allocating markets—are no longer cognizable

       anticompetitive effects because such features are “inherent to joint

       ventures.” Br. viii. AA is wrong on both counts.

            First, no special or different legal standard applies to joint

       ventures. The Supreme Court made that clear in NCAA v. Alston, which

       rejected the NCAA’s claim that it was entitled to “foreshortened review”

       of its restraints on student-athlete compensation because it was a joint

       venture. 594 U.S. at 88. Joint ventures, Alston held, are not subject to

       any special rule-of-reason analysis. Id. This Court has similarly

       explained that a joint venture is not “‘per se’ legal”; on the contrary,

       “[a]ny joint venture, especially one that involves competitors, tends to

       be susceptible to attack under [the] rule of reason.” Addamax, 152 F.3d

       at 52.

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            The Sherman Act “is aimed at substance rather than form.”

       Copperweld, 467 U.S. at 760. Thus, the substance of a joint venture

       guides the analysis. Id. Some joint ventures are analogous to cartels

       and flatly condemned. See Timken Roller Bearing Co. v. United States,

       341 U.S. 593, 597-98 (1951), overruled on other grounds by Copperweld,

       467 U.S. 752. And others are like mergers and analyzed as such. See

       United States v. Penn-Olin Chem. Co., 378 U.S. 158, 173 (1964). Firms

       cannot evade proper review “by labeling the[ir] project a ‘joint venture.’”

       Timken, 341 U.S. at 598.

            Second, the scope of cognizable anticompetitive effects is not

       limited simply because a joint venture is involved. As the Supreme

       Court has explained, any horizontal agreement among actual or

       potential competitors8—including a joint venture—is “fraught with

       anticompetitive risk” because it “deprives the marketplace of the

       independent centers of decisionmaking that competition assumes and

       demands.” Copperweld, 467 at 768-69; see Constr. Aggregate Transp.,


       8     Horizontal restraints are “agreement[s] among competitors on the
       way in which they will compete with one another,” Bd. of Regents, 468
       U.S. at 99, and vertical restraints are “those imposed by agreement
       between firms at different levels of distribution,” Bus. Elecs. Corp. v.
       Sharp Elecs. Corp., 485 U.S. 717, 730 (1988).

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       Inc. v. Fla. Rock Indus., Inc., 710 F.2d 752, 778 n.48 (11th Cir. 1983)

       (horizontal agreements “threaten the achievement of antitrust goals by

       eliminating competition among the participants and thereby allowing

       them to enhance their collective profits to the detriment of consumers”).

       It is likewise bedrock law that an agreement that “impedes the ordinary

       give and take of the market place” on price and output is

       anticompetitive “[o]n its face,” Pro. Eng’rs, 435 U.S. at 692-93, and that

       market-allocation agreements serve “no purpose except stifling

       competition,” Palmer, 498 U.S. at 49 (citation omitted). “Far from being

       ‘presumptively legal,’ such arrangements are exemplars of the type of

       anticompetitive behavior prohibited by the Sherman Act.” Visa, 344

       F.3d at 242; see FTC & DOJ, Antitrust Guidelines for Collaborations

       Among Competitors § 2.2 (2000), https://www.ftc.gov/sites/default/files/

       documents/public_events/joint-venture-hearings-antitrust-guidelines-

       collaboration-among-competitors/ftcdojguidelines-2.pdf (noting that

       competitor collaborations harm competition if they “limit independent

       decision making” or “otherwise reduce the participants’ ability or

       incentive to compete independently”).




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            To be sure, many joint ventures are lawful. The participants may

       have sufficiently small market share that their venture is unlikely to

       impair competition. Alston, 594 U.S. at 88 (citing Rothery Storage &

       Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210, 217 (D.C. Cir. 1986),

       involving a joint venture that “command[ed] between 5.1 and 6% of the

       relevant market”). Or ventures may lack anticompetitive effect because

       they “allow the[] partners to continue to compete with each other in the

       relevant market.” SCFC ILC, Inc. v. Visa USA, Inc., 36 F.3d 958, 963

       (10th Cir. 1994) (quotation marks omitted). Or, at subsequent steps

       under the rule of reason, the participants may prove that the venture

       has procompetitive benefits that cannot “be reasonably achieved

       through less anticompetitive means.” Alston, 594 U.S. at 97 (citation

       omitted).

            The NEA, however, was not so innocuous. Defendants were

       “significant market participants” with substantial market shares in

       numerous relevant markets, ADD90, 91 n.95, and the NEA eliminated

       all competition between them in those markets, ADD38. That is prima

       facie anticompetitive by any conceivable standard. Bd. of Regents, 468

       U.S. at 107; Lexington Bank, 376 U.S. at 672-73; Penn-Olin, 378 U.S. at


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       173 (joint venture could harm competition by “eliminat[ing] . . . any

       prospect of competition between” its owners).9

            Moreover, by changing the incentives of a “particularly aggressive

       competitor in a highly concentrated market”—JetBlue—the NEA

       caused additional harm. Aetna, 240 F. Supp. 3d at 43 (citation omitted).

       The alliance not only reduced JetBlue’s competition with AA but also

       reduced JetBlue’s ability to compete with Delta and United. ADD48,

       ADD80-81. AA downplays the district court’s finding, insisting there

       was no evidence JetBlue raised prices. Br. 38. But the district court

       found that the NEA increased JetBlue’s operating costs and caused it to

       lose out on opportunities to grow at Heathrow and Newark, ADD46-47,

       all of which the court found “diminish[ed] JetBlue’s ability to provide

       disruptive, low-cost competition to the [legacies] in the northeast,”

       ADD48.10


       9     In a merger case, this loss of competition would be called a
       “unilateral effect[].” ProMedica Health Sys., Inc. v. FTC, 749 F.3d 559,
       569 (6th Cir. 2014). It is a well-established type of anticompetitive
       harm. Id.
       10    AA’s responses to JetBlue’s loss of growth opportunities lack
       merit. It notes that “JetBlue found other slots” at Heathrow, Br. 38, but
       the district court found JetBlue did so on much “less favorable” terms
       than the remedy slots offered. ADD47 & nn.50-51. And although AA


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            In sum, AA’s claim that the decision below condemns “even the

       most welfare-enhancing collaborations” is fiction. Br. 4. Indeed, the

       court declined to enjoin future alliances between Defendants and other

       airlines—even ones “substantially similar” to the NEA—on the premise

       that those hypothetical ventures might be lawful. Dkt. 373 at 3. The

       district court held that the NEA, and only the NEA, was

       anticompetitive and unlawful.

                  2.    The Rule of Reason Does Not Ignore Evidence of
                        Harm to Competition Other than Measured Price
                        and Output Effects.

            AA next seeks to downplay the district court’s findings of powerful

       anticompetitive harm for want of “empirical[]” proof regarding price and

       output before and after the NEA. Br. 25, 32-33. In AA’s view, the only

       way a plaintiff can show anticompetitive harm is by demonstrating that

       a restraint has already caused “anticompetitive prices or a reduction of

       output.” Br. 32. Even on that inappropriately narrow view, Plaintiffs

       made out a prima facie case given the district court’s finding that the



       argues that Heathrow is not in the Northeast, Br. 38, that fails to
       address the court’s finding that JetBlue lost Newark slots and overlooks
       that JetBlue would have used the Heathrow slots to serve London from
       Boston. ADD47; ADD80-81; 1-JA148; 5-JA3018-19; 5-JA3503-04.

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       NEA decreased output in a number of key relevant markets. See pp. 13,

       26, supra. But the argument is also fundamentally flawed because it

       unduly narrows the flexible rule of reason, asking courts to ignore many

       other types of evidence of anticompetitive harm, such as eliminating

       head-to-head competition, reducing consumer choice, or limiting a

       maverick’s capability to disrupt markets. Each of those harms

       consumers and is squarely cognizable under the antitrust laws.

            AA’s proposed standard ignores the way the Act protects

       consumers—competition. The Sherman Act was “aimed at preserving

       free and unfettered competition as the rule of trade.” N. Pac. Ry., 356

       U.S. at 4. Congress concluded that the “unrestrained interaction of

       competitive forces will yield the best allocation of our economic

       resources, the lowest prices, the highest quality and the greatest

       material progress, while at the same time providing an environment

       conductive to the preservation of our democratic political and social

       institutions.” Id. It sought to ensure that free market competition,

       rather than regulators or courts, would determine how economic

       resources were allocated and what prices were charged.




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            Thus, Congress did not instruct courts to determine the best

       allocation of resources in our economy by measuring and optimizing the

       results of competition themselves. Rather, “Congress tasked courts with

       enforcing a policy of competition on the belief that market forces yield

       the best allocation of the Nation’s resources.”11 Alston, 594 U.S. at 73

       (emphasis added; citation omitted); Fishman v. Estate of Wirtz, 807 F.2d

       520, 536 (7th Cir. 1986) (“The antitrust laws are concerned with the

       competitive process, and their application does not depend in each

       particular case upon the ultimate demonstrable consumer effect.”). By

       protecting competition, courts maximize benefits to the public. Geneva

       Pharms. Tech. Corp. v. Barr Lab’ys Inc., 386 F.3d 485, 489 (2d Cir.

       2004) (the antitrust laws “safeguard consumers by protecting the

       competitive process,” “which fosters innovation and tends to lower

       prices for consumers”); see Visa, 344 F.3d at 240 (“total exclusion” of two

       competitors from the market meant that “price and product competition



       11    Congress did this by expressly invoking in Section 1 the common
       law on “restraints of trade.” Standard Oil Co. of New Jersey v. United
       States, 221 U.S. 1, 58 (1911); accord Amex, 585 U.S. at 540. The common
       law prohibited “all contracts or acts which were unreasonably restrictive
       of competitive conditions” because they could result in “enhancement of
       prices [or] other wrongs.” Standard Oil, 221 U.S. at 58.

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       is necessarily limited”). And harming competition axiomatically reduces

       consumer welfare.

             The question in Section 1 rule-of-reason cases is therefore

       “whether the challenged agreement is one that promotes competition or

       one that suppresses competition.” Pro. Eng’rs, 435 U.S. at 691. Courts

       have looked to a wide range of factors to answer that question,

       “consider[ing] the facts peculiar to the business to which the restraint is

       applied; its condition before and after the restraint was imposed; the

       nature of the restraint and its effect, actual or probable,” including the

       restraint’s “history,” and “the purpose or end sought to be attained.” Bd.

       of Trade, 246 U.S. at 238; see Cal. Dental Ass’n v. FTC, 526 U.S. 756,

       781 (1999) (“What is required” under the rule of reason is “an enquiry

       meet for the case, looking to the circumstances, details, and logic of a

       restraint.”).

             Under this flexible, common-sense approach, numerous courts

       have found harm to competition through means other than already-

       occurring higher prices or reduced output. See, e.g., IFD, 476 U.S. at

       462 (restraint on dentists’ provision of X-rays could “be condemned even

       absent proof that it resulted in higher prices” for dental services “than


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       would occur in its absence”); Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 937

       (7th Cir. 2000) (manufacturers’ agreement not to supply toys to

       warehouse clubs had an anticompetitive effect by reducing price

       competition); United States v. Brown Univ., 5 F.3d 658, 674 (3d Cir.

       1993) (“[A]ctual dollar amount effects do not necessarily reflect the

       harm to competition which Congress intended to eliminate in enacting

       the Sherman Act.”).

            For example, in Sullivan, this Court held that an NFL rule

       prohibiting public sales of shares in teams could “injure[] competition

       by making the relevant market ‘unresponsive to consumer preference,’”

       “regardless of [its] exact price effects.” 34 F.3d at 1101 (quoting Bd. of

       Regents, 468 U.S. at 107). And in Board of Regents, the Supreme Court

       found it “mo[re] significant” under the rule of reason that a restraint

       made price and output unresponsive to consumer preference than that

       the restraint had specific price or output effects. 468 U.S. at 107.

            AA claims Amex supports ignoring evidence other than observed

       changes in price and output, Br. 32-33, but that reading is refuted by

       the plain language of the opinion. Amex provided numerous examples of

       actual anticompetitive effects beyond changes in price and output—


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       including evidence that a restraint “decreased quality,” or “otherwise

       stifled competition.” 585 U.S. at 542, 547; see also id. at 551 (plaintiffs

       failed to prove challenged provisions stifled competition in part because

       there was “nothing inherently anticompetitive” about the vertical

       restraints). Amex relied in turn on two circuit court cases, which both

       recognized that such evidence is not limited to observed price and

       output effects. See id. at 542, 547; Craftsmen Limousine, Inc. v. Ford

       Motor Co., 491 F.3d 380, 390 (8th Cir. 2007) (“decrease in the total

       number of competitors,” “stifling industry research,” or other

       “detrimental effects upon the competitive process” (emphasis added));

       Virgin Atl. Airways Ltd. v. Brit. Airways PLC, 257 F.3d 256, 264-65 (2d

       Cir. 2001) (“higher quality services” available when a new airline

       entered the market).

            Indeed, antitrust defendants have advocated AA’s reading of Amex

       in another circuit and failed. In US Airways, Inc. v. Sabre Holdings

       Corp., the Second Circuit expressly rejected the rigid reading of Amex

       that AA sets forth here: “The use of the disjunctive—‘or’—in these

       statements of law by the Supreme Court contradicts Sabre’s assertion

       that [observable price and output effects] had to be established.” 938


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       F.3d 43, 63 (2d Cir. 2019). For this reason, the Second Circuit accepted

       actual, non-price harms, including heightened barriers to entry in the

       relevant market, reduced quality, and “technological stagnation.” Id. at

       62. Far from adhering to precedent, then, AA’s approach is exactly the

       sort of “inflexible substitute for careful analysis” that the Court has

       condemned. Alston, 594 U.S. at 97.

            AA relies on MacDermid Printing Solutions LLC v. Cortron Corp.,

       for the proposition that a plaintiff must show “actual harm to

       consumers” under the indirect approach. Br. 28, 32, 39. MacDermid,

       however, acknowledged that an indirect showing can rest on evidence

       that a restraint is “inherently anticompetitive”—for example, by

       “reduc[ing] consumer choice.” 833 F.3d 172, 183 (2d Cir. 2016). AA fares

       no better in parroting MacDermid’s statement that the Second Circuit

       had not yet found anticompetitive harm without measurable price or

       output effects. Br. 39. Two years after MacDermid, the Second Circuit

       did just that, holding that the plaintiff “indirectly established an

       adverse effect” by showing that the challenged restraints “impose[d]

       increasingly significant barriers to entry.” N. Am. Soccer League, 883

       F.3d at 43 (citation and quotation marks omitted).


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             AA’s proposed rule requiring “empirical[]” proof, Br. 25, is not just

       wrong as a legal matter; it makes no sense as a matter of antitrust

       policy and judicial administration. Even in the best of times, it can be

       “difficult[]” or even “impossible” “[to] isolat[e] the market effects of

       challenged conduct” on price and output data. Brown Univ., 5 F.3d at

       668. For example, an apparently constant price over time may mask

       anticompetitive harm if competition would have lowered that price

       absent an unlawful restraint. And in cases like this, the parties’ conduct

       is “subject to manipulation” during investigation and litigation. See

       Chicago Bridge & Iron Co. N.V. v. FTC, 534 F.3d 410, 435 (5th Cir.

       2008). Moreover, confounding factors can make the task of tracing price

       and output effects to a restraint even harder. That was the case here,

       where the NEA’s implementation during the COVID-19 pandemic and

       recovery threw off the data. See pp. 67-68, infra. It is absurd for AA to

       suggest a legal standard that requires price and output evidence that is

       often unavailable or uninformative, while ignoring evidence on which

       courts have long relied.

             Finally, AA’s proposed requirement of backward-looking price and

       output effects renders the indirect method of proof meaningless,


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       contrary to Amex and AA’s own admissions that likely effects are

       enough. Br. 3 (“actual or likely adverse effects” are required). Plaintiffs

       proved likely harm to price and output here in several ways, see pp. 33-

       39, 43-45, supra, and thus satisfied their burden even if price and

       output effects were required.

                  3.    The District Court Did Not Conduct a “Quick
                        Look.”

            AA’s passing suggestions that the district court’s analysis

       amounted to a “quick look,” Br. 30, are wrong. The district court did not

       truncate its inquiry. It identified relevant product and geographic

       markets, ADD84-85, it found that Defendants had market power in

       numerous relevant markets, ADD85-86, it found anticompetitive harm

       based on both direct and indirect evidence, ADD76-88, it carefully

       examined Defendants’ justifications for the NEA, ADD87-99, and it

       made factual findings about less restrictive alternatives and the

       ultimate balancing of harms and benefits. ADD99-101. That is a full

       rule-of-reason analysis. To be sure, the district court said that “no deep

       and searching analysis is required in order to discern [the NEA’s]

       unlawfulness”—but that comment only underscores how badly the NEA




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       flunked this full rule-of-reason test. ADD76; cf. Visa, 344 F.3d at 243

       (defendants lost at step two of the full rule of reason).12

       II.   The District Court Correctly Concluded that Defendants
             Failed to Prove that the NEA Benefited Competition.

             Because the district court found substantial anticompetitive harm

       at step one, Defendants bore a “heavy burden” to prove that the NEA

       produced procompetitive benefits. ADD88 & n.91; see Bd. of Regents,

       468 U.S. at 113. But even after the court gave Defendants every chance

       to carry that burden, it found that they had failed. ADD88.

             At this point, Defendants needed to show that their restrictions on

       competition “ha[d] a[] direct connection to consumer demand.” Alston,

       594 U.S. at 83. But the district court found that the evidence cut

       decisively against Defendants. Neither Defendants’ own witnesses nor

       their ordinary-course documents provided any basis to conclude that

       NEA had more than a “de minimis” procompetitive impact. The district


       12    Even if the district court had abbreviated its rule-of-reason
       inquiry, that would have been appropriate. Courts have applied quick-
       look, or even per se, analysis to facially anticompetitive restraints
       imposed by joint ventures, including market-allocation, capacity-
       coordination, and revenue-sharing agreements. See, e.g., Bd. of Regents,
       468 U.S. at 109; Citizen Pub., 394 U.S. at 135; Polygram Holding, Inc. v.
       FTC, 416 F.3d 29, 37 (D.C. Cir. 2005); Chi. Pro. Sports Ltd. P’ship v.
       NBA, 961 F.2d 667, 676 (7th Cir. 1992).

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       court found that the airlines had not shown they “added new flying they

       could not have otherwise pursued,” ADD98; on the contrary, they

       already had plans to grow significantly before the NEA. The evidence

       similarly demonstrated that the fleet growth Defendants claimed was

       not directly related to the NEA. ADD95. And Defendants had not shown

       that the NEA made them more attractive to customers or more

       competitive with Delta and United. ADD89-95.

            Instead of challenging the district court’s extensive factual

       findings as clearly erroneous, AA simply ignores them and repeats its

       rejected narrative from trial. It claims that the NEA “increase[d]

       output,” Br. 47—even though the court found otherwise, ADD95-98.

       And AA claims the NEA was “premised on” the airlines expanding

       output in the Northeast, “thereby making them more attractive to, and

       benefiting, consumers,” Br. 45—even though the court found that that

       was “simply not a fair characterization of the NEA’s ‘underlying

       purpose’” or of its marketplace effect. ADD89. By failing to challenge

       the district court’s findings, AA has waived any argument that they are

       clearly erroneous. Yaman v. Yaman, 730 F.3d 1, 9 n.10 (1st Cir. 2013).




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       In any event, the district court’s well-supported factual findings are

       correct, and those findings refute AA’s claims of procompetitive effects.

            Having lost on the facts, AA tries to argue the law, claiming that

       the district court’s decision at step two “was not rooted in any relevant

       fact-finding, but rather in the legal conclusion” that any benefits were

       noncognizable. Br. 45. Not so. The district court acknowledged that

       some joint ventures may allow the participants to become more effective

       competitors together. ADD72. But it rightly observed that Defendants

       could not transform the anticompetitive effects of their alliance—

       including capacity coordination and market allocation—into

       procompetitive benefits by simply relabeling them as such. It was

       incumbent on Defendants to show that their becoming larger and more

       powerful actually made consumers better off. The district court found

       they did not do so. Having factually rejected Defendants’ claims of

       consumer benefits, the district court committed no legal error in

       rejecting Defendants’ “bigger-is-necessarily-better” rationale.

         A. Defendants’ Claimed Benefits Failed for Lack of Evidence.

            Defendants completely failed to carry their burden to show that

       their agreement enhanced competition. They relied primarily on a



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       flawed economic model from an uncredible defense expert, which the

       district court properly discounted. ADD59-61. Nor did AA and JetBlue

       otherwise substantiate their claimed benefits in capacity, fleet size,

       routes, “optimization” of schedules and bigger networks, and frequent

       flyer programs. ADD95-99.

            1.     Discredited Expert Testimony. The centerpiece of

       Defendants’ benefits case was an economic model proposed by Dr.

       Israel, a prolific defense expert in antitrust cases. He purported to

       compare the world with and without the NEA and determine the

       difference in passenger traffic between the two scenarios. ADD60, 2-

       JA781. He then translated that difference into a dollar value, which he

       offered as an estimate of the competitive benefits resulting from the

       NEA. 2-JA783-84.

            The district court completely rejected Dr. Israel’s testimony for

       two reasons. ADD61. First—as AA nowhere acknowledges—the court

       found that Dr. Israel’s analysis was substantively unreliable. ADD60.

       Agreeing with Plaintiffs’ expert, Dr. Robert Town, the court found that

       Dr. Israel’s two scenarios failed to compare apples to apples. His “no-

       NEA” scenario looked at Defendants’ fleets and service in 2019, while


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       the NEA scenario included additional aircraft Defendants already

       expected to receive by 2023. ADD60 n.67. Dr. Israel’s scenarios also

       depended on the assumption that the world of air travel would return to

       pre-pandemic conditions—an assumption the court found was wrong.

       ADD60. This uninformative comparison was “devised by the

       defendants” for litigation. Id.

            Second, the district court found Dr. Israel (like Defendants’ other

       experts) not credible. On the stand, Dr. Israel exhibited “the demeanor

       and tone of an advocate invested in the outcome of this case.” ADD57.

       Dr. Israel had also worked for AA and other legacy airlines many times

       without ever rendering an opinion adverse to them in an antitrust case.

       ADD56-57; Dkt. 311 at 92-93. This credibility determination

       undermined a key pillar of Defendants’ step-two showing.13

            2.     Seat Capacity. The district court found that the NEA did not

       cause AA and JetBlue to “add[] new flying they could not otherwise



       13    Other courts have similarly found Dr. Israel’s analyses unreliable.
       See Anthem, 855 F.3d at 364 (concluding that Dr. Israel’s benefit
       projections “fall to pieces in a stiff breeze”); accord FTC v. IQVIA
       Holdings Inc., 2024 WL 81232, at *31 (S.D.N.Y. Jan. 8, 2024); FTC v.
       Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d 27, 65 n.14 (D.D.C.
       2018).

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       have pursued.” ADD98. AA and JetBlue claimed that they could meet

       their burden simply by showing a difference in capacity “before and

       after the restraint was imposed.” Dkt. 322-1 at 45. But correlation is not

       causation: Defendants’ rebuttal burden was to establish that the NEA

       increased output. See, e.g., Alston, 594 U.S. at 99 (noting that defendant

       had to show that the challenged restraints “yield a procompetitive

       benefit” and that it largely failed to do so because it did not show the

       restraints “have any direct connection to consumer demand”); Bd. of

       Regents, 468 U.S. at 114 (asserted benefit to marketability of broadcast

       rights was not cognizable given finding that “NCAA football could be

       marketed just as effectively without the [challenged restraint]”).

            Defendants’ evidence did not meet their burden; in many respects,

       the evidence contradicted their position that the NEA caused capacity

       increases. The NEA took effect in January 2021, before air travel had

       recovered from its collapse at the outset of the COVID-19 pandemic.

       ADD38. As the country reopened, airline capacity returned across all

       airlines and demand patterns changed from before the pandemic.

       ADD21; 5-JA3421. The mere fact that airline capacity in 2021 and 2022




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       changed as the industry rebounded from the depths of the pandemic

       says nothing about whether the NEA increased capacity.14




       5-JA3423.15




       14    AA’s repeated statements that the number of daily flights went up
       on Boston-LaGuardia, Br. 11, 17, 32, 48, are wrong. The district court
       found the opposite: although the court noted evidence that JetBlue’s
       number of flights on that route would eventually increase, ADD94 n.99,
       on the relevant question it found that Defendants’ combined flights on
       the route decreased due to AA’s exit, ADD44.
       15    AA wrongly asserts that Plaintiffs “conceded” that capacity
       increased. Br. 17. Plaintiffs’ experts simply did not opine on that
       question, which was Defendants’ burden at step two. 2-JA717 (“I have
       not analyzed [Defendants’] schedules.”); 1-JA599 (“I don’t offer a view
       on that.”).

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            The district court also found Defendants had not proved a causal

       connection between the NEA and any increased capacity because both

       airlines had planned to grow substantially in Northeast markets before

       the NEA. ADD53-54. For instance, AA had planned to upgauge its jets

       in New York and to lease New York slots to JetBlue for increased flying.

       ADD96 n.104. These pre-NEA plans further undercut Defendants’

       attempt to attribute capacity changes to the NEA. ADD96.

            AA complains, wrongly, that such growth that would have

       occurred anyway must only be considered at step three as a less

       restrictive alternative. Br. 51-52. If a restraint does not enable firms to

       compete more effectively than they would without it, it fails at step two.

       See Alston, 594 U.S. at 99-100; Bd. of Regents, 468 U.S. at 114. In any

       event, as explained below, the district court did proceed to step three

       and found that a less restrictive alternative would have achieved the

       increased capacity Defendants claimed. ADD100-01.

            The district court additionally observed that any capacity changes

       at NEA airports came “at the expense of resources and output

       elsewhere.” ADD96. AA dismisses this as “conjecture[], without

       evidence,” Br. 51, but it was not: the district court found that


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       Defendants had moved planes from other markets to NEA routes.

       ADD40. Indeed, AA’s own employees admitted that AA was “robbing

       Peter to pay Paul” in this way. 2-JA822 (AA’s vice president of network

       strategy); see ADD40 (citing AA executive’s testimony); 2-JA810.

       JetBlue similarly moved assets around, forgoing flying elsewhere to

       operate NEA flights. ADD40; see, e.g., 1-JA393-95, 1-JA592, 5-JA2982.

            This shell game was yet another reason why Defendants’ proof of

       causation failed. The court noted reasons why Defendants’ moving

       aircraft likely had nothing to do with increasing competition—in

       particular, Defendants’ commitments to DOT incentivized them to

       “artificially inflate capacity in the [New York] airports” so they could

       meet their growth targets and avoid having to divest additional slots.

       ADD101 n.113; see also ADD41 n.43. Thus, the district court did not

       rely on out-of-market harm to reject Defendants’ growth claims, as AA

       claims. Br. 50-51.16




       16   AA’s suggestion that the markets from which Defendants pulled
       planes “may have had excess capacity,” Br. 51 n.14, is thus irrelevant—
       and wrong. The court found these markets were ones where Defendants
       planned to grow before the NEA. ADD40.

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            Finally, because AA’s and JetBlue’s output on NEA routes “could

       arguably be subject to manipulation”—whether to avoid additional

       divestitures or to improve their litigating position—the district court

       rightly “deemed” their conduct while under investigation and in

       litigation “of limited value.” Chi. Bridge, 534 F.3d at 435; see Hosp.

       Corp. of Am. v. FTC, 807 F.2d 1381, 1384 (7th Cir. 1986) (factfinder can

       discount a “post-acquisition transaction” that “may have been made to

       improve [the defendant’s] litigating position”).

            AA faults the district court for not deciding whether Defendants

       “could have achieved all of” the claimed capacity growth without the

       NEA, Br. 51, but it was Defendants’ burden at step two to show which

       capacity increases—if any—were caused by the NEA, see Alston, 594

       U.S. at 99, and the court found they did not meet it. Given that

       unchallenged finding, AA’s claim that the district court “did not resolve

       whether” Defendants’ purported output increase “was caused by the

       NEA” is simply false. Br. 17 n.5. The court decided that issue,

       emphatically, against Defendants.

            3.     Fleets. The district court next found that Defendants had

       “claimed, but not proven, that their fleets have actually grown as a


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       result of the NEA.” ADD95. The aircraft retirements JetBlue

       purportedly delayed so it could fly NEA routes would have been delayed

       anyway. ADD41 n.44. And AA’s own witness could not attribute AA’s

       fleet decisions to the NEA. 2-JA825-826.

            4.     Routes. Nor did Defendants prove that any new routes at

       NEA airports were attributable to the alliance. The district court

       explained that other factors, such as pandemic-related shifts in travel

       patterns or the “long-term plans” Defendants “would have pursued

       without the NEA,” were equally plausible explanations. ADD96-98. 17

            5.     “Optimization” of Schedule and Network. The district court

       rejected Defendants’ attempts to “cast” their schedule “optimization”—

       i.e., their allocation of markets and agreement “not [to] offer directly

       competing flights”—as a procompetitive benefit. ADD44 & n.45. The


       17    The new routes purportedly established from NEA airports were
       not cognizable at step two in any event. The Sherman Act does not
       authorize courts to “sacrifice competition in one portion of the economy
       for greater competition in another portion.” United States v. Topco
       Assocs., Inc., 405 U.S. 596, 611 (1972). Thus, an anticompetitive effect
       or procompetitive benefit is only cognizable to the extent it occurs “in
       the relevant market itself.” Sullivan, 34 F.3d at 1113. Here, any benefit
       from “new routes” accrued outside the relevant markets where the NEA
       harmed competition: a new flight from JFK to Tel Aviv does nothing to
       benefit travelers harmed by the loss of Defendants’ competition on
       Boston-LaGuardia.

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       court found no evidence that passengers wanted this competition-

       minimizing schedule, and the evidence suggested they did not. The

       district court found that Defendants’ “optimization” left customers on

       particular routes or “fly[ing] at a particular time of day [with] fewer

       carriers from which to choose.” Id. That was harmful to passengers,

       especially “on business routes . . . where corporate travelers might need

       to arrive or depart at specific times.” ADD44 n.45.

            Likewise, while Defendants touted a bigger “network,” the district

       court found that “neither the record nor the Court’s own experience

       suggested that” the relevant product for individual customers was the

       network; rather, customers purchase “a ticket for a flight (or flights)

       from one place to another.” ADD93 n.97. The court found that the NEA

       did not “revolutionize[] that ‘product’ in any way,” id.; Defendants

       “ha[d] not established their pooled assets are ‘complementary’ such that

       they enable the defendants to create an innovative product.” ADD93. As

       to corporate customers, there was “no significant evidence the

       defendants were losing corporate accounts before the NEA or ha[d]

       gained new accounts because of it.” ADD95 n.100. And although an

       improved network supposedly made Defendants more competitive with


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       Delta and United, the evidence of those airlines’ competitive responses

       to the NEA was “milquetoast, at best.” ADD95.

            6.     Frequent-Flyer Benefits. “All that remain[ed],” the district

       court noted, were the NEA’s frequent-flyer benefits. ADD99. Yet the

       court found that, even assuming Defendants’ frequent-flyer changes

       enhanced competition, any competitive benefit was “de minimis

       compared to the anticompetitive harms the Court ha[d] found.” Id.; see

       Bd. of Regents, 468 U.S. at 113. And any benefit was “plainly achievable

       through less restrictive means” because airlines regularly offer

       frequent-flyer reciprocity without the many other competitive restraints

       in the NEA. ADD99 & n.112.

            In sum, the district court found every claimed benefit of the NEA

       unsubstantiated or de minimis. Far from suggesting that “no joint

       venture c[an] ever be upheld,” Br. 49, the district court expressly

       recognized that joint ventures may “justify ancillary restraints that

       otherwise appear anticompetitive” when such ventures actually

       promote procompetitive goals. ADD93. And the district court gave as

       one of its many examples of legitimate joint ventures “‘two small

       companies’ seeking to collaborate so that they can ‘compete more


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       effectively with larger corporations dominating the relevant market.’”

       ADD91 n.95. The district court simply found that Defendants’ evidence

       provided no support for, and even contradicted, their justifications.

         B. Benefits to AA and JetBlue Do Not Necessarily Inhere to
            Consumers.

            The district court’s factual findings establish that the NEA did not

       make Defendants’ product better; it simply made Defendants larger and

       more powerful, which was only good for AA and JetBlue. Rather than

       grapple with the court’s findings, AA seeks to sidestep them, accusing

       the district court of erroneously disregarding the NEA’s benefits. But

       what AA decries as “fundamental error,” Br. 22, is actually

       fundamental to our antitrust laws: they protect “competition”—not “the

       interest of the members of an industry.” Pro. Eng’rs, 435 U.S. at 692.

            As AA elsewhere admits, to prove procompetitive benefits, it had

       to show at step two that its agreement with JetBlue “meaningfully

       improve[d] the functioning of markets by, for example, ‘increasing

       output, creating operating efficiencies, making a new product available,

       enhancing product or service quality, and widening consumer choice.’”

       Br. 44 (quoting Law v. NCAA, 134 F.3d 1010, 1023 (10th Cir. 1998)

       (emphasis added)); see, e.g., Sullivan, 34 F.3d at 1113 (justifications for

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       NFL policy were relevant to the extent they “result[ed] in increased

       competition in the market”).

            As the district court correctly observed, the functioning of markets

       is not improved merely by “making individual competitors larger or

       more powerful.” ADD10; ADD94. To the contrary, the Sherman Act

       “exist[s] to protect the competitive process itself, not individual firms,”

       Grappone, Inc. v. Subaru of New England, Inc., 858 F.2d 792, 794 (1st

       Cir. 1988) (Breyer, J.), and it deems the accumulation of market power

       a paradigmatic antitrust problem, see pp. 49-50, supra. Accordingly,

       firms may not use the “potential threat that competition poses” to them

       to justify restraining competition. Pro. Eng’rs, 435 U.S. at 695; Law,

       134 F.3d at 1023 (“[M]ere profitability or cost savings have not qualified

       as a defense under the antitrust laws.”). The notion that the “presence

       of a strong competitor justifies a horizontal [anticompetitive]

       conspiracy” is “a concept of marketplace vigilantism that is wholly

       foreign to the antitrust laws.” United States v. Apple, Inc., 791 F.3d 290,

       298 (2d Cir. 2015).

            For this reason, courts have time and again rejected arguments

       that restraints of trade eliminating one form of competition are justified


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       because they would allow defendants to “channel[] competition into

       [other] areas,” see Brown Univ., 5 F.3d at 675, or that a restraint frees

       the parties up to take on a leading firm, see FTC v. H.J. Heinz Co., 246

       F.3d 708, 720 (D.C. Cir. 2001); H&R Block, 833 F. Supp. 2d at 80. The

       district court did the same here, concluding that the Sherman Act did

       not “permit the elimination of competition between” AA and JetBlue,

       “two significant market participants, just so that [they] can unseat the

       market leader” by becoming bigger. ADD90-91.

            In the same vein, the district court rejected Defendants’ attempt

       to recharacterize their anticompetitive capacity coordination and

       market allocation as procompetitive justifications through labels such

       as “optimizing” and “better schedules.” ADD94. These euphemisms

       simply described Defendants’ “elect[ion] not to compete with one

       another[] and cooperate in ways that horizontal competitors normally

       would not.” ADD95. See Viamedia, 951 F.3d at 479 (“[C]laimed benefits

       from [challenged] conduct must be procompetitive and not simply the

       result of eliminating competition.”). Coordinating schedules and routes

       may have been better for them, but AA and JetBlue needed to establish

       that it was better for customers. The district court found they “produced


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       minimal objectively credible proof to support that claim.” ADD13. That

       failure of proof, not any legal error, was the “root[]” of AA and JetBlue’s

       loss. Br. 45.

      III.   Even if Defendants Had Carried Their Step-Two Burden,
             Affirmance Would Still Be Warranted.

             Even if Defendants carried their step-two burden, the district

       court’s findings on less restrictive alternatives and balancing would still

       require affirmance.

         A. The District Court’s Unchallenged Finding of a Less
            Restrictive Alternative Independently Supports the
            Judgment.

             The district court found that Plaintiffs showed a viable less

       restrictive alternative to the NEA: a WCIA-style alliance combined with

       slot leases in New York. ADD99-100. AA’s only response is that given

       the district court’s rejection of the NEA’s benefits at step two, the court

       never determined whether this less restrictive alternative would yield

       the purported benefits of the NEA. Br. 53-54. That is wrong.

             The district court found as a factual matter that whatever

       “objectives American and JetBlue sought to realize via the NEA could

       have been achieved” by its less restrictive alternative. ADD100. The

       court found that an alternative similar to the WCIA would have allowed

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       Defendants to “leverage any complementary aspects of their networks”

       and “use JetBlue’s domestic traffic to feed American’s international

       service.” Id.; see also ADD52. Thus, even if the NEA had helped

       Defendants “better compete with Delta,” a WCIA-style alliance would

       have achieved the same thing. ADD100. A slot lease from AA to JetBlue

       in New York, meanwhile, would have enabled the same growth there

       that the NEA purportedly did. Id. Although the district court noted that

       Defendants’ failure of proof at step two made its job at step three

       especially easy, ADD101, its findings established that Defendants

       would lose at step three even if they had proved all their claimed

       benefits. AA does not challenge these decisive findings as clearly

       erroneous.

         B. The District Court’s Unchallenged Weighing of Harms and
            Benefits Independently Supports the Judgment.

            If no less restrictive alternative is shown, a court must proceed to

       “balance [a] restriction’s anticompetitive harms against its

       procompetitive benefits.” Epic Games, 67 F.4th at 994; see Sullivan, 34

       F.3d at 1111; Fraser v. Major League Soccer, LLC, 284 F.3d 47, 59 (1st

       Cir. 2002); ADD73. The district court addressed this step as well,

       finding that the NEA’s harms “overwhelmingly” outweighed its

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       benefits. ADD101. AA neither mentions nor challenges that conclusion,

       forfeiting any challenge to it. See, e.g., United States v. Reyes-Santiago,

       804 F.3d 453, 459 (1st Cir. 2015).

            In any event, the district court correctly found that the NEA’s

       harms far outweighed its benefits. The court found that the NEA caused

       “serious anticompetitive harm,” ADD84, by eliminating the aggressive

       competition between Defendants; weakening JetBlue’s incentive and

       ability to act as a maverick competitor; allocating markets; reducing

       consumer choice; lowering output on key NEA routes; and putting

       upward pressure on prices. All of this “substantially upset[] the

       competitive balance in a highly concentrated industry.” ADD102.

            By contrast, the district court’s findings establish that any

       increase in competition from the NEA was negligible. The court found

       that without the NEA, both Defendants would have grown in the

       Northeast and “continu[ed] to occupy strong positions among the largest

       carriers in Boston and New York.” ADD54; ADD91 n.95. The court also

       found that AA already had a global network comparable to Delta’s and

       United’s prior to the NEA and that the NEA did not increase the reach

       of that network because Defendants’ assets were overlapping, rather


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       than complementary. ADD93; see also 3-JA2021-22. And finally, the

       court found minimal evidence of competitive responses by Delta and

       United to the NEA. ADD95. That left only “de minimis” frequent flyer

       benefits on Defendants’ side of the ledger. See p. 74, supra.

            The record thus demonstrates that the “principal tendency” of the

       NEA was to suppress competition in one of the country’s most

       concentrated air travel regions. Cal. Dental, 526 U.S. at 781. That

       tendency made the NEA unlawful.




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                                   CONCLUSION

            This Court should affirm the district court’s judgment.

                                             Respectfully submitted.

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                          CERTIFICATE OF COMPLIANCE

            1.     This brief complies with the word limit of this Court’s order

       dated February 28, 2024, because the brief contains 14,994 words,

       excluding the parts exempted by Fed. R. App. P. 32(f).

            2.     This brief complies with the typeface requirements of Fed. R.

       App. P. 32(a)(5) and the type-style requirements of Fed. R. App.

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       proportionally spaced typeface.



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                               CERTIFICATE OF SERVICE

                I certify that on March 5, 2024, I caused the foregoing to be filed

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       electronic filing on all registered users, including counsel for Defendant-

       Appellant.



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